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 1   GARY M. RESTAINO
     United States Attorney
 2   District of Arizona
 3   KEVIN M. RAPP
     Arizona State Bar No. 014249
 4   Email: Kevin.Rapp@usdoj.gov
     COLEEN SCHOCH
 5   Georgia State Bar No. 366545
     Email: Coleen.Schoch@usdoj.gov
 6   Assistant U.S. Attorneys
     Two Renaissance Square
 7   40 North Central Avenue, Suite 1800
     Phoenix, Arizona 85004-4408
 8   Telephone (602) 514-7500
     Attorneys for Plaintiff
 9
10                       IN THE UNITED STATES DISTRICT COURT

11                             FOR THE DISTRICT OF ARIZONA

12
     United States of America,                        No. CR-19-00898-PHX-DLR (DMF)
13
                           Plaintiff,
14                                                     UNITED STATES’ MOTION TO
              v.                                        DETAIN DEFENDANT POST
15                                                         GULITY-VERDICT
     David Allen Harbour,
16
                           Defendant.
17
18         The jury has now convicted the Defendant on Counts 1, 2, 3, 6, 7, 8, 13, 14,15, 16,
19   17, 18, 19, 20, 21, 22, & 23. Pursuant to 18 U.S.C. § 3143(a), and the Court’s order of
20   January 27, 2023, the United States requests that the Court detain Defendant David Allen
21   Harbour pending the imposition of sentence.
22         First, the Court released Defendant on an emergency basis only for the duration of
23   the first trial: “It’s further ordered that defendant be temporarily released from custody
24   forthwith until the completion of the first trial in this case, on the conditions the Court
25   otherwise previously set.” Final Pretrial Conf. Tr. 35:12-15 (Jan. 27, 2023). Second,
26   detention is presumed under 18 U.S.C. § 3143(a). Probation is unavailable because
27   Defendant has been convicted of Class C felonies and faces a lengthy prison sentence under
28   the United States Sentencing Guidelines. The Court has already found that “Defendant has

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 1   violated his conditions of release in multiple ways . . . . [and] is a serious flight risk.” Order
 2   at 4 (July 22, 2022). The lengthy sentence that he now faces only gives Defendant a
 3   heightened incentive to flee.
 4          Defendant cannot overcome the presumption in favor of detention pending his
 5   sentencing. The Court should detain Defendant David Allen Harbour pending the
 6   imposition of his sentence.
 7   I.   Detention Pending Sentencing After Conviction is Statutorily Presumed
 8          A jury has found the Defendant guilty of Class C felonies. Absent clear and
 9   convincing evidence that Defendant is not likely to flee or pose a danger to the community,
10   detention is mandatory:
11                  [T]he judicial officer shall order that a person who has been
12                  found guilty of an offense and who is awaiting imposition or
                    execution of sentence . . . be detained unless the judicial officer
13                  finds by clear and convincing evidence that the person is not
14                  likely to flee or pose a danger to the safety of any other person
                    or the community if released . . . .
15
     18 U.S.C. § 3143(a).
16
            In United States v. Gerrans, 2020 WL 1865420, at *1 (N.D. Cal. Apr. 14, 2020),
17
     the court found that neither § 3143(a)(2) nor the “exceptional reasons” provision of §
18
     3145(c) (which applies to those detained under § 3143(a)(2)) applied. The Court noted that,
19
     even if there were “exceptional reasons,” release under § 3145(c) would not be proper
20
     unless the judicial officer found by clear and convincing evidence that the defendant is not
21
     likely to flee or pose a danger to the safety of any other person or the community if released
22
     with conditions under § 3142(b) or (c). Id. After conviction, exceptional reasons can
23
     override the requirement of a substantial likelihood that a motion for acquittal or new trial
24
     will be granted (§ 3142(a)(2)) or that the appeal is not for the purpose of delay and raises
25
     a substantial question of law or fact likely to result in relief on appeal (§ 3143(b)(1)); it
26
     does not, however, authorize relief if there is a risk of flight or danger.
27
            Other circuit courts have held that there is no constitutional right to bail pending
28


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 1   sentencing and, further, that the law disfavors release pending sentencing. See, e.g., United
 2   States v. Abuhamra, 389 F.3d 309, 317 (2nd Cir. 2004). Thus, the burden is on the
 3   defendant to demonstrate lack of flight risk and risk of harm is “plainly substantial.” Id. at
 4   316-20. This is because the government has:
 5                 a strong and obvious countervailing interest in detaining
                   defendants who have been found guilty beyond a reasonable
 6
                   doubt of serious crimes; such detention providing public safety
 7                 by removing a presumptively dangerous person from the
                   community; it also encourages general respect for the law by
 8                 signaling that a guilty person will not be able to avoid or delay
 9                 imposition and service of the sentence prescribed by law.
10   Id. at 320.

11          Defendant cannot meet a burden of clear and convincing evidence and therefore

12   should be detained. As set forth below, Defendant’s circumstances and the potentially

13   lengthy prison sentence that he faces both support detention pending sentencing.

14    II.   The Court Released Defendant Temporarily Until the Completion of Trial 1

15          Defendant was released by the Court only for the duration of the first trial. The Court

16   found that “the nature and volume of evidence in the upcoming trial warrants granting the

17   relief requested in defendant's motion so that defendant may have adequate time to

18   communicate with counsel during trial and participate in his defense at trial. Final Pretrial

19   Conf. Tr. 35:4-8 (Jan. 27, 2023). “It’s further ordered that defendant be temporarily

20   released from custody forthwith until the completion of the first trial in this case, on the

21   conditions the Court otherwise previously set.” Final Pretrial Conf. Tr. 35:12-15 (Jan. 27,

22   2023). The first trial has concluded with Defendant being found guilty. The basis for

23   Defendant’s emergency release has expired, and he should be detained.

24   III.   Defendant is a Flight Risk as He Faces a Guideline Sentence of 17-22 Years

25          Defendant is now directly faced with a lengthy prison sentence: 20 years’

26   imprisonment. Having been convicted of Class C felonies, probation is not available. 18

27   U.S.C. § 3561. The length of a potential sentence is generally accepted as an indicator of

28   flight risk. Abuhamra, 389 F.3d at 309. Under the U.S. Sentencing Guidelines, Defendant


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 1   Harbour’s sentencing range is 210 to 262 months’ imprisonment (17.5-22 years) based on
 2   a criminal history level I and a total offense level 37:
 3                 Base Offense Level § 2B1.1(A)                           7
 4                 Amount of Loss § 2B1.1(B)(1) ($9.5- $20M)               + 20
 5                 Use of Sophisticated Means § 2B1.1(B)(9)                +2
 6                 Role of Leader/Extensive Scheme § 3B1.1(A)              +2
 7                 Abuse of Trust/Use Of Specialized Skill § 3B1.3         +2
 8                 Obstruction of Justice § 3C1.1                          +2
 9                 Vulnerable Victim § 3A1.1 1                             +2
10                 Total                                                   = 37
11   Other defendants in similar fraud cases in this district have received lengthy prison
12   sentences following trial:
13            United States v. Mario Bernadel, CR-08-00256-PHX-SMM: leader of
14              mortgage fraud scheme with $10 million in loss and criminal history
15              category II sentenced to 17 years after trial.
16
              United States v. Eitan Maximov, CR-10-00822-PHX-DGC: investor in
17
                mortgage fraud scheme with $1-2.5 million in loss and criminal history
18
                category I sentenced to 8 years after trial. 2
19
              U.S. v. Liddle, CR-10-01725-PHX-SRB: sentenced in 2012 to 15 years
20
                for Bank Fraud involving a loss of $7-20 million following trial.
21
22            U.S. v. Slade, CR-09-1492-PHX-ROS: Slade sentenced in 2013 to 15

23              years after pleading guilty to a Ponzi scheme that involved a loss of $20-

24
25   1
      Both Kenneth Bobrow and Rhonda Gray were vulnerable victims due to Bobrow’s age
26   and Gray’s vulnerability following the sudden death of her husband. U.S.S.G. § 3A1.1 app.
     note 2.
27   2
      Maximov was taken into custody following a guilty verdict. (Doc. 201) Maximov had not
28   violated his pretrial release conditions.


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 1              50 million; co-defendants (Guy and Brent Williams) sentenced to 12 and

 2              7 years, respectively, following trial.

 3            U.S. v. Woodard, CR-10-1721-02-PHX-DLR: Woodard was sentenced in
 4              2015 to 9 years following a trial that involved an advance fee fraud
 5              scheme with a loss of $7.5 million. Woodard only received $1.5 million
 6              of the proceeds.
 7            U.S. v. Anderson/Plany, CR-12-1606-PHX-SRB: sentenced in 2016 to
 8              9.5 years following trial regarding a mortgage fraud scheme with a loss
 9              of $10 million 3 in which he defrauded both putative investors and lenders.
10
              U.S. v. Audette, CR-14-00858-PHX-SPL: sentenced to 20 years for wire
11              fraud and money laundering in a fraud scheme following trial with a loss
12              of $3.4 million.
13
             Defendant remains a flight risk and a danger to the community. His substantial
14
     sentence exposure from the counts of which he was convicted in this trial gives him a
15
     motive to flee. He is also facing significant additional exposure following his second and
16
     third trials, which will occur this month.
17
             A. Defendant is a “serious flight risk”
18
             When reviewing the decisions of the magistrate judge regarding Defendant’s
19
     pretrial release violations, the Court found that “Defendant has violated his conditions of
20
     release in multiple ways . . . . [and] is a serious flight risk.” Order at 4 (July 22, 2022).
21
             B. Defendant violated numerous pretrial release conditions
22
             Defendant’s persistent disregard for his pretrial release conditions provides further
23
     support for his immediate detention. A grand jury found probable cause to find that
24
     Defendant committed additional crimes while on release, as charged in Counts 27-34.
25
     Order at 2 (July 22, 2022) (Doc. 427). The Court also found that, while on release,
26
27
     3
      Both Anderson and Plany were taken into custody following a guilty verdict. (Doc. 212)
28   Neither had violated the conditions of their respective pretrial release.

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 1   Defendant violated two additional conditions. First, it found by clear and convincing
 2   evidence that Defendant violated the condition that he not solicit investors for any
 3   investment when he solicited Kenneth “Bobrow to invest $142,000 for the purchase of a
 4   residence on Georgia Ave. . . . for Defendant’s benefit.” Order at 2 (July 22, 2022). Second,
 5   it found by clear and convincing evidence that Defendant violated the condition that he
 6   notify Pretrial Services of his financial transactions when he failed to inform pretrial
 7   services of a $1,950,000 loan. Order at 4 (July 22, 2022). “Defendant’s attempt to “finesse”
 8   this transaction, which is clearly a loan, by labelling it as an advance on expected income,
 9   is an obvious attempt to circumvent the condition of release that he report financial
10   transactions to PTS.” Order at 4 (July 22, 2022). Defendant’s repetitive violations show
11   that he does not respect or abide by the Court’s orders.
12          C. Defendant forges signatures and creates fictitious documents
13          During the trial, the Court also heard evidence of Defendant forging or otherwise
14   falsifying signatures, creating fictitious documents and email addresses, and even hijacking
15   a cell phone and computer to facilitate his attempts to tamper with the witnesses against
16   him at trial. The fraudulent and deceptive nature of these offenses reflect on the seriousness
17   of Defendant’s criminal conduct, Defendant’s poor character, and the need to protect
18   society from his risk of flight and from further harm. Defendant cannot show otherwise by
19   clear and convincing evidence.
20          Defendant since he has now been found guilty of his crimes by a jury. The Court
21   should detain him pending sentencing.
22          Respectfully submitted this 2nd day of March, 2023.
23                                              GARY M. RESTAINO
                                                United States Attorney
24                                              District of Arizona
25                                              s/ Kevin M. Rapp
                                                KEVIN M. RAPP
26                                              COLEEN SCHOCH
                                                Assistant U.S. Attorneys
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 1                              CERTIFICATE OF SERVICE
 2          I hereby certify that on March 2, 2023, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6   s/ Daniel Parke
     Daniel Parke
 7   U.S. Attorney’s Office
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